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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,
                                                               Case No. 00-CR-80128-DT
v.
                                                               HONORABLE DENISE PAGE HOOD
RODERICK HENRY (D-4),

      Defendant.
_______________________________________/

                                              ORDER

        This matter is before the Court on Defendant Roderick Henry’s Motion to Allow Private

Investigator to Interview Individuals at Milan Correction Facility and FCI Terre Haute. On July 21,

2005, a Judgment was entered against Defendant, amended on October 21, 2005, sentencing

Defendant to 180 months in prison after a jury verdict finding Defendant guilty of violating 21

U.S.C. §§ 841(a)(1) and 846. Defendant filed a Notice of Appeal from the Judgment on July 26,

2005.

        Defendant claims that in order to properly prepare Defendant’s brief on appeal, it is

necessary for an investigator to interview certain co-defendants currently incarcerated at FCI Milan

and USP Terre Haute. Defendant does not cite any authority as to whether this Court has any

authority over a post-judgment discovery motion while the matter is currently before the Sixth

Circuit Court of Appeals. A proper notice of appeal divests the district court of jurisdiction and

transfers jurisdiction to the court of appeals. Lewis v. Alexander, 987 F.2d 392, 394 (6th Cir.1993);

United States v. Moss, 189 F.R.D. 354, 356 (E.D. Mich. 1999); United States v. Worthy, 172 F.3d.

51, 1998 WL 898840 (6th Cir. Dec. 17, 1998) (unpublished)(A post-judgment discovery motion was

properly denied by the district court as jurisdiction over the case had already been transferred to the
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court of appeals). The Court does not have jurisdiction over Defendant’s post-judgment motion to

allow a private investigator to interview certain individuals located at federal correctional

institutions since the case has been transferred to the Sixth Circuit Court of Appeals.

       Accordingly,

       IT IS ORDERED that Defendant’s Ex-Parte Motion to Allow Private Investigator to

Interview Individuals at Milan Correctional Facility and FCI Terre Haute (Docket No. 293, filed

September 8, 2006) is DENIED.




                                                       /s/ DENISE PAGE HOOD
                                                      DENISE PAGE HOOD
                                                      United States District Judge
DATED: September 15, 2006



       I hereby certify that a copy of the foregoing document was served upon counsel of record
on September 15, 2006, by electronic and/or ordinary mail.

                                              S/William F. Lewis
                                              Case Manager




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